Rich Curtner
Federal Defender
FEDERAL PUBLIC DEFENDER
FOR THE DISTRICT OF ALASKA
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Attorney for Defendant Hayden Beard



                              UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                         Case No. 3:18-cr-00029-RRB
                          Plaintiff,
                                                   NOTICE OF SUBSTITUTION OF
         vs.                                       COUNSEL
 HAYDEN BEARD,
                          Defendant.

        COMES NOW Rich Curtner, Federal Defender, and hereby notifies the court of the

substitution of counsel in this matter. Federal Defender Rich Curtner will replace Assistant

Federal Defender Matthew M. Scoble as counsel for Hayden Beard. All future filings and

correspondence should be addressed to:

                Rich Curtner
                Federal Defender
                601 West Fifth Avenue, Suite 800
                Anchorage, Alaska 99501
                Phone: (907) 646-3400
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        Assistant Federal Defender Matthew M. Scoble is no longer an active participant in this

matter. In light of this notice, the Clerk’s Office is authorized to terminate future service on

Mr. Scoble.




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         DATED at Anchorage, Alaska this 14th day of September, 2018.

                                                                 Respectfully submitted,

                                                                 /s/ Rich Curtner
                                                                 Rich Curtner
                                                                 Federal Defender

                   Certificate of Service:
I hereby certify that I electronically filed the foregoing and
any attachments with the Clerk of Court for the United
States District Court for the District of Alaska by using the
district’s CM/ECF system on September 14, 2018. All
participants in this case are registered CM/ECF users and
will be served by the district’s CM/ECF system.

/s/ Rich Curtner




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